           Case 3:12-cr-00434-FAB         Document 335        Filed 01/11/13       Page 1 of 5



 1                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                   CRIMINAL:12-434 (CCC)

 7        [12]LUIS VÁZQUEZ-RIVERA,

 8        Defendant.
 9
                         MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
10                           RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)

11
     I.         Procedural Background
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                On May 31, 2012, a grand jury returned an indictment against Luis Vázquez-Rivera, (hereinafter
13
     referred to as “defendant”). (Docket No.2.) Defendant has agreed to plead guilty to count one of the
14
     indictment. Count one charges, inter alia, that from a date unknown to the grand jury, but prior to 2010,
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     through and including May 2012, both dates being approximate and inclusive, in the District of Puerto
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     Rico, and elsewhere within the jurisdiction of this court, [12] Luis Vázquez-Rivera and other known
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     and unknown persons, being employed by and associated with a criminal enterprise which engaged in,
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     and the activities of which affected, interstate and foreign commerce, knowingly and intentionally
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     conspired to violate Title 18, United States Code, Section 1962(c), that is, to conduct and participate,
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     directly and indirectly, in the conduct of the affairs of that enterprise through a pattern of racketeering
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     activity consisting of multiple acts involving narcotics trafficking, including cocaine, in violation of the
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     laws of the United States, that being, Title 21, United States Code, Sections 841 and 846; and multiple
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     acts indictable under Title 18, United States Code, Sections 1956 and 1957 (money laundering).
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     II.        Consent to Proceed Before a Magistrate Judge
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                On January 9, 2013, while assisted by counsel the defendant, by consent, appeared before the
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     undersigned in order to change his previous not guilty plea to a plea of guilty as to count one of the
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     indictment. In open court the defendant was questioned as to the purpose of the hearing being held and
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        Case 3:12-cr-00434-FAB            Document 335         Filed 01/11/13      Page 2 of 5



 1   was advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be
 2   conducted under oath and that it was expected that his answers would be truthful; (c) the potential
 3   consequences of lying under oath (such as a perjury charge); and (d) his right to have the change of plea
 4   proceedings presided by a district judge instead of a magistrate judge. The defendant was also
 5   explained the differences between the appointment and functions of the two. The defendant consented
 6   to proceed before the undersigned magistrate judge.
 7   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
 8            A.      Rule 11(c)(1) Requirements
 9                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
10            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
11            guilty does so with an ‘understanding of the nature of the charge and consequences of
              his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
12            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
13            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
14            UnitedStates v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).

15            B. Admonishment of Constitutional Rights

16            To assure defendant’s understanding and awareness of his rights, defendant was advised of his

17   right:

18            1.   To remain silent at trial and be presumed innocent, since it is the government who has the

19   burden of proving his guilt beyond a reasonable doubt.

20            2.   To testify or not to testify at trial, and that no adverse inference could be made in relation

21   to his decision not to testify.

22            3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and

23   cross examine the government witnesses, present evidence on his behalf, and challenge the

24   government’s evidence.

25            4.   To have a unanimous verdict rendered by a jury of twelve persons which would have to be

26 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
27            5.   To use the subpoena power of the court to compel the attendance of witnesses.

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        Case 3:12-cr-00434-FAB          Document 335         Filed 01/11/13     Page 3 of 5



 1          Upon listening to the defendant’s responses, observing his demeanor and his speaking with his
 2 attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
 3 that defendant is aware of his constitutional rights.
 4          C. Consequences of Pleading Guilty
 5          Upon advising defendant of his constitutional rights, he was further advised of the consequences
 6 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his
 7 guilty plea accepted by the court, he will be giving up the above rights and will be convicted solely on
 8 his statement that he is guilty.
 9          Furthermore, the defendant was admonished of the fact that by pleading guilty he would not be
10 allowed later on to withdraw his plea because he eventually might disagree with the sentence imposed,
11 and that if he violates the conditions of supervised release, that privilege could be revoked and he could
12 be required to serve an additional term of imprisonment. He was also explained that parole has been
13 abolished.
14          In response to further questioning, defendant was explained and he understood that if convicted

15 on count one as charged he will face the following penalties: a term of imprisonment of up to life in
16 prison, pursuant to Title 18, United States Code, Section 1963(a); a term of supervised release of not
17 more than 5 years, pursuant to Title 18 United States Code, Section 3583; and a fine not to exceed
18 $250,000 or twice the gross profits or other proceeds derived from the offense, whichever is greater.
19          The defendant was also explained what the supervised release term means. Defendant was also

20 made aware that the court must impose a mandatory penalty assessment of one hundred dollars ($100)
21 per offense pursuant Title 18, United States Code, Section 3013(a).
22          The defendant was advised that the ultimate sentence was a matter solely for the court to decide

23 in its discretion and that, even if the maximum imprisonment term and fine were to be imposed upon
24 him, he later could not withdraw his guilty plea for that reason alone. The defendant understood this.
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        Case 3:12-cr-00434-FAB                 Document 335           Filed 01/11/13   Page 4 of 5



 1              D. Plea Agreement1
 2              The parties have entered into a written plea agreement that, upon being signed by the
 3 government, defense attorney and defendant, was filed and made part of the record. Defendant was
 4 clearly warned and recognized having understood that:
 5              1.   The plea agreement is not binding upon the sentencing court.
 6              2.   The plea agreement is an agreement between the defendant, defense counsel and the attorney
 7 for the government which is presented as a recommendation to the court in regards to the applicable
 8 sentencing adjustments and guidelines, which are advisory.
 9              3.   The agreement provides a sentencing recommendation and/or anticipated sentencing
10 guideline computation, that can be either accepted or rejected by the sentencing court.
11              4.   In spite of the plea agreement and any sentencing recommendation contained therein, the

12 sentencing court retains full discretion to reject such plea agreement and impose any sentence up to the
13 maximum possible penalty prescribed by statute.
14              Defendant acknowledged having understood these explanations and all the terms and conditions

15 of the plea agreement.
16              E. Government's Evidence (Basis in Fact)

17              The government presented a proffer of its evidence consistent with the version of facts of the plea

18 agreement with which the defendant concurred. Accordingly, it is determined that there is a basis in fact
19 and evidence to establish all the elements of the offense charged.
20              F. Voluntariness

21              The defendant accepted that no threats had been made to induce him to plead guilty and that he

22 did not feel pressured to plead guilty.
23              G. Waiver of Appeal

24              The defendant was explained, and he understood, that if the court accepts the plea agreement and

25 sentences him according to its terms and conditions, he will be surrendering his right to appeal the
26 sentence and judgment in this case.
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28          1
                       “Plea agreement” refers to the agreement and its supplement.
        Case 3:12-cr-00434-FAB           Document 335         Filed 01/11/13      Page 5 of 5



 1   IV.     Conclusion
 2           The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
 3 Criminal Procedure, has entered a plea of guilty as to count one of the indictment. After cautioning and
 4 examining the defendant under oath and in open court, concerning each of the subject matters mentioned
 5 in Rule 11, as described in the preceding sections, I find that defendant Luis Vázquez-Rivera is
 6 competent to enter this guilty plea, is aware of the nature of the offense charged and the maximum
 7 statutory penalties that the same carries, understands that the charge is supported by the government’s
 8 evidence, has admitted to every element of the offense charged, and has done so in an intelligent and
 9 voluntary manner with full knowledge of the consequences of his guilty plea. Therefore, I recommend
10 that the court accept the guilty plea of the defendant and that the defendant be adjudged guilty as to count
11 one of the indictment.
12           Any objections to this report and recommendation must be specific and must be filed with the

13 Clerk of Court within fourteen (14) days of its receipt. Failure to timely file specific objections to the
14 report and recommendation is a waiver of the right to review by the district court. United States v.
15 Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
16           SO RECOMMENDED.

17           At San Juan, Puerto Rico, this 11th day of January, 2013.

18
                                                    s/Marcos E. López
19                                                  U. S. MAGISTRATE JUDGE

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